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14
15                               UNITED STATES DISTRICT COURT
16                          NORTHERN DISTRICT OF CALIFORNIA
17
18
      Paul Ryan and Michelle Pimentel,              CASE NO.
19    individually, and on behalf of those
      similarly situated,                           CLASS ACTION COMPLAINT
20
                           Plaintiffs,              Demand for Jury Trial
21
             v.
22
23    The Good Fat Co. Ltd.,

24                         Defendant.

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                            1
                            2          Plaintiffs Paul Ryan and Michelle Pimentel bring this action on behalf of

                            3    themselves and all others similarly situated against Defendant The Good Fat Co. Ltd.
                            4
                                 (“GFC” or “Defendant”). Plaintiffs make the following allegations pursuant to the
                            5
                                 investigation of counsel and based upon information and belief, except as to the
                            6
                                 allegations specifically pertaining to themselves, which are based on personal
                            7
                            8    knowledge.

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                                                              NATURE OF THE ACTION
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                                       “Once you go on this diet, and you get off all your medications, you lose
                            12         weight, you feel great, your energy is increased, your acne goes
                                       away…how could you possibly go back to wanting to be fat and sick
                            13         again? Especially now that there’s products to help you in this
                                       journey.”
                            14
                                                                     Nina Teicholz,
                            15                                Defendant’s Scientific Advisor1

                            16
                            17         1.       This case arises from Defendant’s deceptive and misleading practices

                            18   with respect to its marketing and sale of its snack products (the “Products” or

                            19   “Product”).2
                            20
                                       2.       Defendant manufactures, sells, and distributes the Products using a
                            21
                                 marketing and advertising campaign focused on claims that appeal to health-
                            22
                            23   conscious consumers.

                            24
                            25   1Love Good Fats Official Youtube Channel, Is the Keto diet a fad or is it here to stay?,
                                 Nov. 23, 2018, https://www.youtube.com/watch?v=NQ94G1ukDR8.
                            26
                                 2At the time of this filing, the following flavors are included in this definition: Lemon
                            27   Mousse, Mint Chocolate Chip, Peanut Butter Chocolatey, Chocolate Chip Cookie
                                 Dough, Coconut Chocolate Chip, White Chocolatey Strawberry, Cookies & Cream,
                            28   and Salted Caramel. This definition is not exhaustive, and shall include all of
                                 Defendant’s products that are similarly deceptively marketed.
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                                       3.     Defendant engages in a deceptive marketing campaign to convince
                            1
                            2    consumers that the Products are nutritious and healthful to consume, and are more

                            3    healthful than similar products.
                            4
                                       4.     For example, Defendant prominently features “GOOD FATS” on its
                            5
                                 Products:
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                            19         5.     Further, Defendant perpetuates the message that its Products are
                            20   healthy, healthful, better for them, and a healthier alternative to the competition
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                                 throughout its marketing and advertising.
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                                                        CLASS ACTION COMPLAINT
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                            1
                            2            6.    However, this is false, misleading, and deceptive because Defendant’s

                            3    Products contain high amounts of unsafe fats which increase the risk of severe health
                            4
                                 issues, including coronary heart disease – the number one killer of Americans every
                            5
                                 year.
                            6
                                         7.    Moreover, in violation of federal and state regulations, Defendant
                            7
                            8    attempts to perpetuate this deception by prominently making health focused nutrient

                            9    content claims on the labeling of its Products, without making mandatory disclosures,
                            10
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                                 in an effort to mislead and deceive consumers that its Products are healthy,
                            11
                                 healthful, better for them, and a healthier alternative to the competition throughout
                            12
                            13   its marketing and advertising.

                            14           8.    Reasonable consumers purchased the Products believing, among other

                            15   things, that they were accurately represented. Specifically, reasonable consumers
                            16
                                 believed that the Products contained accurate label information and representations.
                            17
                                 Reasonable consumers would not have purchased the Products if they had known
                            18
                            19   about the misrepresentations and omissions, or would have purchased them on

                            20   different terms.

                            21           9.    In stark contrast to the healthy representations, Defendant’s Products
                            22
                                 contain unhealthy levels of saturated fat. In its discussion of saturated fat, the
                            23
                                 American Heart Association states, “Decades of sound science has proven it can raise
                            24
                            25   your “bad” cholesterol and put you at higher risk for heart disease.”3

                            26
                            27
                            28   3 American Heart Association, Saturated Fat, http://www.heart.org/en/healthy-
                                 living/healthy-eating/eat-smart/fats/saturated-fats.
                                                                           –4–
                                                                  CLASS ACTION COMPLAINT
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                                       10.    Cardiovascular Disease is the leading cause of death for men and women
                            1
                            2    in the United States, taking one life every 37 seconds.4

                            3          11.    Plaintiffs bring this action individually and on behalf of those similarly
                            4
                                 situated and seeks to represent a Nationwide Class, a Multi-State Consumer Class,
                            5
                                 and a California Class. Plaintiffs seek damages, interest thereon, reasonable
                            6
                                 attorneys’ fees and costs, restitution, other equitable relief, and disgorgement of all
                            7
                            8    benefits Defendant has enjoyed from its unlawful and/or deceptive business practices,

                            9    as detailed herein. In addition, Plaintiffs seek injunctive relief to stop Defendant’s
                            10
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                                 unlawful conduct in the labeling and marketing of the Products and conduct a
                            11
                                 corrective advertising campaign.
                            12
                            13
                            14                               JURISDICTION AND VENUE

                            15
                                       12.    This Court has personal jurisdiction over Defendant. Defendant
                            16
                                 purposefully avails itself of the California consumer market and distributes the
                            17
                                 Products to many locations within this District and hundreds of retail locations
                            18
                                 throughout the State of California, where the Products are purchased by thousands of
                            19
                                 consumers every day.
                            20
                                       13.    This Court has original subject-matter jurisdiction over this proposed
                            21
                                 class action pursuant to 28 U.S.C. § 1332(d), which, under the provisions of the Class
                            22
                                 Action Fairness Act (“CAFA”), explicitly provides for the original jurisdiction of the
                            23
                                 federal courts in any class action in which at least 100 members are in the proposed
                            24
                                 Plaintiffs class, any member of the Plaintiffs class is a citizen of a State different from
                            25
                                 any defendant, and the matter in controversy exceeds the sum of $5,000,000.00,
                            26
                                 exclusive of interest and costs. Plaintiffs allege that the total claims of individual
                            27
                            28
                                 4Heron M., Deaths: Leading causes for 2017, NATIONAL VITAL STATISTICS REPORTS;
                                 vol. 68 no. 6, National Center for Health Statistics. 2019 available at
                                 https://www.cdc.gov/nchs/data/nvsr/nvsr68/nvsr68_06-508.pdf.
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                            1    members of the proposed Class (as defined herein) are well in excess of $5,000,000.00
                            2    in the aggregate, exclusive of interest and costs.
                            3           14.      Venue is proper in this District under 28 U.S.C. § 1391(a). Plaintiffs’
                            4    purchases of Defendant’s Products, substantial acts in furtherance of the alleged
                            5    improper conduct, including the dissemination of false and misleading information
                            6    regarding the nature, quality, and/or ingredients of the Products, occurred within this
                            7    District.
                            8                                   DIVISIONAL ASSIGNMENT
                            9           15.      Pursuant to Civil Local Rule 3-2(c-d), a substantial part of the events
                            10   giving rise to the claims arose in San Francisco County, and this action should be
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                            11   assigned to the San Francisco Division.
                            12
                                                                           PARTIES
                            13
                                        16.      Plaintiff Paul Ryan is a citizen of California.
                            14
                            15                a. Prior to purchase, Plaintiff Ryan saw and relied on Defendant’s

                            16                   marketing and labeling representing that the Products were healthy,
                            17                   healthful, better for them, and a healthier alternative to the
                            18
                                                 competition.
                            19
                                              b. Plaintiff Ryan has purchased the Product on multiple occasions. Plaintiff
                            20
                            21                   Ryan’s most recent purchase of the Product occurred in October 2020

                            22                   from a Whole Foods store located in San Francisco, CA where he
                            23                   purchased the Salted Caramel flavor.
                            24
                                        17.      Plaintiff Michelle Pimentel is a citizen of California.
                            25
                                              a. Prior to purchase, Plaintiff Pimentel saw and relied on Defendant’s
                            26
                            27                   marketing and labeling representing that the Products were healthy,

                            28

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                                                                     CLASS ACTION COMPLAINT
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                                                healthful, better for them, and a healthier alternative to the
                            1
                            2                   competition.

                            3                b. Plaintiff Pimentel has purchased the Products on multiple occasions.
                            4
                                                Plaintiff Pimentel’s most recent purchase of the Products occurred in
                            5
                                                March 2021 from a Nob Hill Foods store located in Salinas, CA where
                            6
                                                she purchased the Peanut Butter Chocolatey and the Mint Chocolate
                            7
                            8                   Chip flavors.

                            9          18.      Plaintiffs purchased the Products for personal consumption. When
                            10
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                                 Plaintiffs saw Defendant’s misrepresentations prior to and at the time of purchase,
                            11
                                 they relied on Defendant’s prominent representations and claims about the Products.
                            12
                            13   Specifically, that it was healthy, healthful, better for them, and a healthier

                            14   alternative to the competition. Defendant emphasizes these representations in the

                            15   marketing and on the labeling of the Product.
                            16
                                       19.      Plaintiffs relied on the Defendant’s representations, including but not
                            17
                                 limited to, the “GOOD FATS” representation made on the Product as well as the
                            18
                            19   numerous explicit nutrient content claims contained in it.

                            20         20.      Plaintiffs understood these representations to mean that the Product

                            21   was healthy, healthful, better for them, and a healthier alternative to the
                            22
                                 competition. Had Plaintiffs known the truth – that it failed to conform to those
                            23
                                 representations, and rather, it contained dangerously high levels of saturated fats –
                            24
                            25   Plaintiffs would not have purchased the Product at a premium price.

                            26         21.      Plaintiffs have enjoyed the Products in the past. If they could be assured

                            27   through prospective injunctive relief that the Products are properly labeled, they
                            28
                                 would consider purchasing the Products in the future.
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                                        22.    Plaintiffs bring the claims below seeking damages, actual and statutory,
                            1
                            2    as well as injunctive relief.

                            3           23.    Defendant The Good Fat Co. Ltd. is a Canadian limited liability
                            4
                                 company with its principal place of business in Toronto, Ontario. From its Toronto
                            5
                                 headquarters, Defendant produces, markets, and distributes its consumer food
                            6
                                 products in retail stores throughout the United States.
                            7
                            8           24.    Plaintiffs reserve the right to amend this Complaint to add different or

                            9    additional defendants, including without limitation any officer, director, employee,
                            10
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                                 supplier, or distributor of Defendant who have knowingly and willfully aided,
                            11
                                 abetted, or conspired in the false and deceptive conduct alleged herein.
                            12
                            13
                            14                               SUBSTANTIVE ALLEGATIONS

                            15          A. Defendant Makes, Markets, and Sells the Product to Consumers.

                            16          25.    Defendant manufactures, labels, distributes, advertises, and sells the
                            17
                                 Products.
                            18
                                        26.    Defendant markets and labels the Products with the representations
                            19
                                 and omissions as described herein. Specifically, the Product’ s label contains: (1) the
                            20
                            21   nutrient content claim in large font stating that it contains “GOOD FATS,” (2)

                            22   numerous explicit nutrient content claims, and (3) the omission of the required
                            23
                                 disclosure statement on the label concerning saturated fat which puts the these
                            24
                                 claims in proper context.
                            25
                                        27.    The Products are displayed:
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                            13    28.   Additionally, the back panel of each Product is shown:

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                            2          29.      In the above example, “GOOD FATS” is presented in all capital letters.

                            3          30.      This nutrient content claim represents to consumers that the fat
                            4
                                 contained in the Product is good for them, and thus the Product is healthy, healthful,
                            5
                                 better for them, and a healthier alternative to the competition.
                            6
                                       31.      The Products also include numerous additional nutrient content claims
                            7
                            8    on the front, including:

                            9                a. The amount of protein;
                            10
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                                             b. The amount of “Net Carbs;” and
                            11
                                             c. “Only ‘X’ g of Sugar.”
                            12
                            13         32.      The Defendant notably omits the disclosure statement concerning the

                            14   high levels of saturated fat as required for products that make nutrient content

                            15   claims and also have high levels of saturated fat.
                            16
                            17
                                       B. Defendant Perpetuates the “Healthy” Myth of Its Products through
                            18            its Marketing Practices.
                            19
                                       33.      Defendant executes a coordinated, marketing campaign that perpetuates
                            20
                                 the myth that the Products are healthy, healthful, better for them, and a healthier
                            21
                            22   alternative to the competition.

                            23         34.      Defendant is clear about its motives and understanding of consumer

                            24   behavior.
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                                       35.    In addition to the explicit marketing, Defendant also uses implied
                            1
                            2    marketing to generate increased sales. For example, Founder Suzie Yorke described

                            3    this process in an interview:5
                            4
                                                     We don’t say the “good for you” per se because we convey that.
                            5
                            6                        “Good for you” is implied in our RTBs which are:

                            7
                                                       •   low sugar (one to two grams)
                            8                          •   all clean ingredients
                                                       •   wholesome ingredients
                            9                          •   non-GMO verified
                                                       •   gluten-free
                            10
                                                           soy-free
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                                                       •
                            11                         •   no sugar alcohol
                                                       •   no artificial preservatives
                            12                         •   plant-based, dairy-free, Kosher (specific products)
                                                       •   made in Canada
                            13
                                                       •   the founder is Suzie
                            14                         •   money-back guarantee

                            15                       Those are in order of priority.
                            16
                                       36.    The message is conveyed in almost every medium.
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                            18         37.    For example, on its official social media accounts, Defendant perpetuates

                            19   the health benefits of the Products. For example, on its official Instagram account, it

                            20   uses health related hashtags on the majority of posts. The specific example below
                            21
                                 includes hashtags “#healthyfood” and “#healthy”:
                            22
                            23
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                            27
                                 5Anna Bolton, Start with Positioning: An Interview with Suzie Yorke, Love Good Fats
                            28   Founder, CONVERSION COPY COMPANY, https://conversioncopyco.com/start-with-
                                 positioning-an-interview-with-suzie-yorke-love-good-fats-founder/.
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                            11         38.   Additionally, Defendant uses targeted Facebook Advertisements which
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                                 spread this “healthy” message to consumers in the United States.
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                            16         39.       Moreover, when consumers comment on these advertisements,

                            17   Defendant avoids directly answering comments which question the health content of
                            18
                                 its products:
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                            25
                            26         40.       To increase the credibility of its “healthy” image, Defendant uses
                            27
                                 “Scientific Advisor” Nina Teicholz in certain advertisements and social media
                            28

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                                 publications. In one example on the company’s official Youtube channel,6 this
                            1
                            2    individual is being interview by Defendant’s CEO and discusses the health benefits of

                            3    a ketogenic diet while flanked by multiple boxes of Products, while at times she holds
                            4
                                 individual Products in her hand, and makes the following statements:
                            5
                                               a. “Once you go on this diet, and you get off all your medications, you lose weight,
                            6
                                                  you feel great, your energy is increased, your acne goes away…how could you
                            7
                            8                     possibly go back to wanting to be fat and sick again? Especially now that there’s

                            9                     products [picks up Product] to help you in this journey.”

                            10                 b. “Increasingly doctors are understanding that this diet is really supported by good
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                            11
                                                  science, a large body of good science…”
                            12
                                         41.      Defendant’s representations that classify the Products as healthy is not
                            13
                                 isolated. In contrast, the common theme is present at every stage in the company.
                            14
                            15           42.      For example, Defendant’s CEO, Suzie Yorke has made multiple public

                            16   statements declaring the Products’ purported health benefits:
                            17
                                               a. “For a long time, people tried to keep fats out of their diet. At Love Good
                            18
                                                  Fats, we’re on a mission to bring healthy fats back into consumer’s diets
                            19
                                                  and help them say goodbye to sugar!”7
                            20
                            21                 b. "My [love good fats] bars are based on the latest science that shows that

                            22                    there are health benefits to eating good fats and dramatically reducing
                            23
                                                  sugar in-take. The demand for products that fit into a high fat, low carb
                            24
                            25
                                 6   Youtube, supra note 1.
                            26
                            27   7The Good Fat Co. Press Release, LOVE GOOD FATS SHOWCASES LINE OF
                                 DELICIOUS BARS AND SHAKES AT EXPO WEST (Mar. 5, 2019),
                            28   https://www.fooddive.com/press-release/20190305-love-good-fats-showcases-line-of-
                                 delicious-bars-and-shakes-at-expo-west/.
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                                                lifestyle is growing – customers love our bars because of their melt-in-
                            1
                            2                   your-mouth taste. There is nothing like this on the shelves. That’s

                            3                   driving phenomenal interest from retailers.”8
                            4
                                             c. “Eliminating sugar and reducing carbs has a tremendous positive impact
                            5
                                                and that’s what the brand message really is: it’s okay to eat and love
                            6
                                                good fats and embrace that. Because we’ve all had forty years of
                            7
                            8                   misinformation.”9

                            9                d. “Fats were demonized in the past as they were historically blamed for
                            10
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                                                weight gain and heart disease.”10
                            11
                                       43.      Despite knowledge that the Products contain dangerous levels of
                            12
                            13   saturated fat, Defendant, for a period of time, included a table that deceptively omits

                            14   the saturated fat content:11

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                            20
                            21   8 Lana Bandoim, 2019 Food Forecast: Keto-Friendly Snack Options Increase, FORBES
                                 (Dec. 27, 2018), https://www.forbes.com/sites/lanabandoim/2018/12/27/2019-food-
                            22   forecast-keto-friendly-snack-options-increase/?sh=4c51081c7c6c.

                            23   9Carol Ortenberg, Love Good Fats Raises $5M, Launches Nationwide in U.S., NOSH
                                 (Dec. 11, 2018), https://www.nosh.com/news/2018/love-good-fats-raises-5m-launches-
                            24   nationwide-in-u-s.
                            25
                                 10Douglas Yu, Fats are actually good for you, winning Canadian keto snack brand
                            26   further listings in US, BAKERY AND SNACKS (Oct. 30, 2018),
                                 https://www.bakeryandsnacks.com/Article/2018/10/30/Canadian-keto-snack-brand-
                            27   wins-further-listings-in-US.

                            28   11This table appeared on Defendant’s official website for a period of time within the
                                 Class Period. It is no longer on the website.
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                                       44.    In addition to the deceptive and misleading conduct on the Products’
                            15
                                 labels, Defendant perpetuates these same deceptions in almost every medium in
                            16
                            17   which it markets the Products.

                            18
                                       C. The Products Contain High Levels of Saturated Fat.
                            19
                                       45.    Defendant’s Product contains high levels of saturated fat.
                            20
                            21         46.    As demonstrated by the studies cited below, consuming the Product is

                            22   unhealthy as it increases risk of CHD, stroke, and other morbidity.
                            23
                                       47.    Each Product contains 6 to 8 grams of saturated fat.
                            24
                                       48.    These levels are similar to foods that consumers do not expect to be
                            25
                            26   represented as healthy or better for them.

                            27
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                                       49.      For example, the Lemon Mousse and the Mint Chocolate Chip flavors
                            1
                            2    contain 7 grams of saturated fat which is more than the amount of saturated fat in

                            3    two large orders of McDonald’s fries.12
                            4
                                       50.      Similarly, the Peanut Butter Chocolatey flavors contains 7 grams of
                            5
                                 saturated fat which is more than the amount of saturated fat in a slice of Pizza Hut’s
                            6
                                 Pepperoni Lover pizza.13
                            7
                            8          51.      Regardless of the flavor, each version of the Product contains saturated

                            9    fat levels that exceed thresholds of concern as dictated by the FDA.
                            10
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                                       D. Saturated Fat Consumption Increases the Risk of Cardiovascular
                            11            Disease and Other Morbidity

                            12         52.      Cholesterol is a waxy, fat-like substance found in the body’s cell walls.
                            13
                                 The body uses cholesterol to make hormones, bile acids, vitamin D, and other
                            14
                                 substances. The body synthesizes all the cholesterol it needs, which circulates in the
                            15
                            16   bloodstream in packages called lipoproteins, of which there are two main kinds—low

                            17   density lipoproteins, or LDL cholesterol, and high-density lipoproteins, or HDL

                            18   cholesterol.
                            19
                                       53.      LDL cholesterol is sometimes called “bad” cholesterol because it carries
                            20
                                 cholesterol to tissues, including the arteries. Most cholesterol in the blood is LDL
                            21
                            22   cholesterol.

                            23         54.      HDL cholesterol is sometimes called “good” cholesterol because it takes

                            24   excess cholesterol away from tissues to the liver, where it is removed from the body.
                            25
                            26   12An entire large order of McDonald’s fries contains 3 grams of saturated fat. See
                                 McDonald’s Nutritional Information, https://www.mcdonalds.com/us/en-
                            27   us/product/large-french-fries.html.

                            28   13Pizza Hut Nutritional Guide,
                                 http://quikorder.pizzahut.com/QOcontent2/Files/PDF/NutritionInformation.pdf.
                                                                        – 18 –
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                                          55.   Total and LDL cholesterol blood levels are two of the most important
                            1
                            2    risk factors in predicting coronary heart disease (CHD), with higher total and LDL

                            3    cholesterol levels associated with increased risk of CHD.14
                            4
                                          56.   High LDL cholesterol levels are dangerous because “[e]levated blood
                            5
                                 LDL cholesterol increases atherosclerotic lipid accumulation in blood vessels.”15 That
                            6
                                 is, if there is too much cholesterol in the blood, some of the excess may become
                            7
                            8    trapped along artery walls. Built up formations of cholesterol on arteries and blood

                            9    vessels are called plaque. Plaque narrows vessels and makes them less flexible, a
                            10
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                                 condition called atherosclerosis.
                            11
                                          57.   Thus, “[f]or the health of your heart, lowering your LDL cholesterol is
                            12
                            13   the single most important thing to do.”16

                            14            58.   The consumption of saturated fat negatively affects blood cholesterol

                            15   levels because the body reacts to saturated fat by producing cholesterol. More
                            16
                                 specifically, saturated fat consumption causes coronary heart disease by, among other
                            17
                                 things, “increas[ing] total cholesterol and low-density lipoprotein (LDL) cholesterol.”17
                            18
                            19
                            20
                                 14See, e.g., Dr. Dustin Randolph, Coconut Oil Increases Cardiovascular Disease Risk
                            21   and Possible Death Due to Heart Attacks and Stroke (Sept. 19, 2015) (“Heart attack
                                 and stroke risk can be largely predicted based on total and LDL cholesterol levels in
                            22   people” because “as cholesterol levels increase so does one’s risk of symptomatic and
                                 deadly heart disease.”), available at
                            23   http://www.pursueahealthyyou.com/2015/04/coconut-oil-increasescardiovascular.html.

                            24   15USDA Center for Nutrition Policy and Promotion, Dietary Saturated Fat and
                                 Cardiovascular Health: A Review of the Evidence, Nutrition Insight 44 (July 2011)
                            25   [hereinafter, “USDA Review of the Evidence”].
                            26
                                 16Pritikin Longevity Center, Is Coconut Oil Bad for You?, available at
                            27   https://www.pritikin.com/your-health/healthy-living/eating-right/1790-is-coconut-oil-
                                 badfor-you.html.
                            28
                                 17   Supra note 15, USDA Review of the Evidence.
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                                          59.       Moreover, “[t]here is a positive linear trend between total saturated
                            1
                            2    fatty acid intake and total and low-density lipoprotein (LDL) cholesterol

                            3    concentration and increased risk of coronary heart disease (CHD).”18
                            4
                                          60.       This linear relationship between saturated fat intake and risk of
                            5
                                 coronary heart disease is well established and accepted in the scientific community.
                            6
                                          61.       For example, the Institute of Medicine’s Dietary Guidelines Advisory
                            7
                            8    Committee “concluded there is strong evidence that dietary [saturated fatty acids]

                            9    SFA increase serum total and LDL cholesterol and are associated with increased risk
                            10
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                                 of [cardiovascular disease] CVD.”19
                            11
                                          62.       In addition, “[s]everal hundred studies have been conducted to assess
                            12
                            13   the effect of saturated fatty acids on serum cholesterol concentration. In general, the

                            14   higher the intake of saturated fatty acids, the higher the serum total and low density

                            15   lipoprotein (LDL) cholesterol concentrations.”20
                            16
                                          63.       Importantly, there is “no safe level” of saturated fat intake because “any
                            17
                                 incremental increase in saturated fatty acid intake increases CHD risk.”21
                            18
                            19            64.       For this reason, while the Institute of Medicine sets tolerable upper

                            20   intake levels (UL) for the highest level of daily nutrient intake that is likely to pose

                            21
                            22
                            23
                                 18Institute of Medicine, Dietary Reference Intakes for Energy, Carbohydrate, Fiber,
                            24   Fat, Fatty Acids, Cholesterol, Protein, and Amino Acids, at 422 (2005) [hereinafter
                                 “IOM Dietary Reference Intakes”], available at
                            25   http://www.nap.edu/catalog.php?record_id=10490.

                            26   19   Supra note 15, USDA Review of the Evidence.
                            27
                                 20   Supra note 18, IOM Dietary Reference Intakes.
                            28
                                 21   Id. at 422.
                                                                                – 20 –
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                                 no risk of adverse health effects to almost all individuals in the general population,
                            1
                            2    “[a] UL is not set for saturated fatty acids.”22

                            3                65.    In addition, “[t]here is no evidence to indicate that saturated fatty acids
                            4
                                 are essential in the diet or have a beneficial role in the prevention of chronic
                            5
                                 diseases.”23
                            6
                                             66.    Further, “[i]t is generally accepted that a reduction in the intake of SFA
                            7
                            8    [saturated fatty acids] will lower TC [total cholesterol] and LDL-cholesterol.”24

                            9                67.    For these reasons, “reduction in SFA intake has been a key component of
                            10
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                                 dietary recommendations to reduce risk of CVD.”25
                            11
                                             68.    The Institute of Medicine’s Dietary Guidelines for Americans, for
                            12
                            13   example, “recommend reducing SFA intake to less than 10 percent of calories.” And

                            14   “lowering the percentage of calories from dietary SFA to 7 percent can further reduce

                            15   the risk of CVD.”26
                            16
                                             69.    Professor Frank Sacks from Harvard’s T.H. Chan School of Public
                            17
                                 Health believes that “[t]he evidence that saturated fat causes atherosclerosis and
                            18
                            19   heart disease is compelling.”27

                            20
                            21   22   Id.

                            22   23   Id. at 460.
                            23
                                 24Shanthi Mendis et al., Coconut fat and serum lipoproteins: effects of partial
                            24   replacement with unsaturated fats, 85 Brit. J. Nutr. 583, 583 (2001).

                            25   25   Supra note 15 USDA, Review of the Evidence.
                            26
                                 26   Id.
                            27
                                 27Bonnie Liebman, Saturated fats: the big picture, CENTER FOR SCIENCE IN THE
                            28   PUBLIC INTEREST (Oct. 30, 2021), https://www.cspinet.org/article/saturated-fats-big-
                                 picture.
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                                          70.   In short, consuming saturated fat increases the risk of CHD and
                            1
                            2    stroke.28

                            3             71.   In other words, they are not “good fats.”
                            4
                            5             E. Defendant Violates Identical Federal and State Regulations

                            6                   a.    Federal and State Regulations Are Identical

                            7             72.   The FDA oversees the regulation and labeling of food pursuant to the
                            8    Federal Food, Drug and Cosmetic Act (“FDCA”).
                            9
                                          73.   The Federal Food, Drug, and Cosmetic Act expressly authorizes state
                            10
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                                 regulations, such as the Sherman Law, that are “identical to the requirement[s]” of
                            11
                            12   the FDCA and federal regulations. See 21 U.S.C. § 343-1.

                            13            74.   California’s Sherman Food, Drug and Cosmetic Law, Cal. Heath & Saf.
                            14   Code § 110765 et seq. (the “Sherman Law”), incorporates all food labeling regulations
                            15
                                 promulgated by the FDA under the FDCA. See e.g., Cal. Heath & Saf. Code §
                            16
                                 110100(a) (“All food labeling regulations and any amendments to those regulations
                            17
                            18   adopted pursuant to the federal act, in effect on January 1, 1993, or adopted on or

                            19   after that date shall be the food labeling regulations of this state.”), § 110380 and §
                            20
                                 110505.
                            21
                                          75.   Because the Sherman Law’s requirements are identical to the
                            22
                                 requirements of the Federal Food, Drug, and Cosmetic Act and FDA regulations the
                            23
                            24   Sherman law is explicitly authorized by the FDCA.

                            25
                            26
                            27
                            28
                                 28   Mendis, supra note 24.
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                                                 b.    Regulations Governing the Labeling of Food Products
                            1
                            2          76.       Defendant’s deceptive statements described herein violate Cal. Health &

                            3    Safety Code § 110660 and 21 U.S.C. § 343(a), which both deem a food misbranded if
                            4
                                 its labeling is “false or misleading in any particular.”
                            5
                                       77.       As described above, the Products’ labeling contains numerous
                            6
                                 statements that are false or misleading because they state, suggest, or imply that it is
                            7
                            8    healthful, conducive to health, and won’t detriment health, which render it

                            9    misbranded.
                            10
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                                       78.       In addition, the Product’s labeling is misleading, and thus misbranded,
                            11
                                 because “it fails to reveal facts that are material in light of other representations.” 21
                            12
                            13   C.F.R § 1.21.

                            14         79.       Defendant’s voluntary and affirmative misrepresentations challenged

                            15   herein “fail[ed] to reveal facts that are material in light of other representations made
                            16
                                 or suggested by the statement[s], word[s], design[s], device[s], or any combination
                            17
                                 thereof,” in violation of 21 C.F.R. § 1.21(a)(1). Such omitted facts include the
                            18
                            19   detrimental health consequences of consuming the Products.

                            20         80.       Defendant fails to include mandatory disclosure statements that must

                            21   alert consumers to examine the Nutrition Information because the Product contains
                            22
                                 high levels of fat and saturated fat. These disclosures are mandatory because the
                            23
                                 Product contains numerous nutrient content claims, and because the Product
                            24
                            25   contains these high, dangerous levels, they are required so consumers can put these

                            26   claims in their proper context.

                            27         81.       Numerous competitors follow this regulation and provides proper
                            28
                                 disclosure statements when required. For example:
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                            1
                            2
                            3

                            4
                            5
                            6
                            7          82.    Defendant similarly failed to reveal facts that were “[m]aterial with

                            8    respect to the consequences which may result from use of the article under” both
                            9    “[t]he conditions prescribed in such labeling,” and “such conditions of use as are
                            10
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                                 customary or usual,” in violation of § 1.21(a)(2). Namely, Defendant failed to disclose
                            11
                                 the presence of high levels of saturated fat, and Defendant failed to disclose the
                            12
                            13   increased risk of serious chronic disease likely to result from the usual consumption

                            14   of its Products.
                            15
                                              c.     The Products are Misbranded Because the Labeling Makes
                            16                       Unauthorized Nutrient Content Claims

                            17         83.    The Products are misbranded because the labeling contains
                            18
                                 unauthorized nutrient content claims.
                            19
                                       84.    Under 21 U.S.C. § 343(r)(1)(A), a claim that characterizes the level of a
                            20
                                 nutrient which is of the type required to be in the labeling of the food must be made
                            21
                            22   in accordance with a regulation promulgated by the Secretary (or, by delegation,

                            23   FDA) authorizing the use of such a claim. See also Cal. Health & Safety Code §
                            24
                                 110670 (“Any food is misbranded if its labeling does not conform with the
                            25
                                 requirements for nutrient content or health claims” set by federal law.).
                            26
                                       85.    Characterizing the level of a nutrient on food labels and the labeling of a
                            27
                            28   product without complying with the specific requirements pertaining to nutrient

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                                 content claims for that nutrient renders a product misbranded under 21 U.S.C. §
                            1
                            2    343(r)(1)(A).

                            3           86.      The Products are misbranded and misleading because the labeling bears
                            4
                                 nutrient content claims that the Products contain healthy “good” fats, but the Product
                            5
                                 fails to meet the requirements for making such implied nutrient content claims as set
                            6
                                 forth in 21 C.F.R. § 101.65(d).
                            7
                            8           87.      For example, on each product, the Defendant represents that the

                            9    Products contain healthy “good” fats which are beneficial and help “nourish your
                            10
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                                 mind, body, and soul.”
                            11
                                        88.      Reasonable consumers interpret these representations to mean that the
                            12
                            13   Product consists of healthy fats.

                            14          89.      This is consistent with the California Dept. of Food & Agriculture’s

                            15   interpretation29 for the terms:
                            16
                                              a. “Good fat (may be used for unsaturated fats (monounsaturated and
                            17
                                                 polyunsaturated)”;
                            18
                                              b. “Bad fat (may be used to indicate saturated and trans fats).”
                            19
                            20          90.      To “use the term ‘healthy’ or related terms (e.g., ‘health,’ ‘healthful,’

                            21   ‘healthfully,’ ‘healthfulness,’ ‘healthier,’ ‘healthiest,’ ‘healthily,’ and ‘healthiness’) as
                            22
                                 an implied nutrient content claim on the label or in labeling of a food that is useful in
                            23
                                 creating a diet that is consistent with dietary recommendations,” a food must satisfy
                            24
                            25
                            26
                            27   29See, e.g., California Dept. of Food & Agriculture, GUIDELINES ON
                                 ADVERTISING, PROMOTION AND COMMUNICATIONS FOR COMMODITY
                            28   MARKETING PROGRAMS, pg. 19,
                                 https://www.cdfa.ca.gov/mkt/mkt/pdf/ApprovedAdvertisingGuidelines-2015.pdf.
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                                 specific “conditions for fat, saturated fat, cholesterol, and other nutrients.” 21 C.F.R §
                            1
                            2    101.65(d)(2).

                            3           91.      The Products are “not specifically listed” in the table contained in 21
                            4
                                 C.F.R § 101.65(d)(2)(i), and therefore are governed by section (F) of the table. See
                            5
                                 101.65(d)(2)(i)(F).
                            6
                                        92.      Under 21 C.F.R. § 101.65(d)(2)(i)(F), to use a “healthy” term, a food must
                            7
                            8    (1) be “Low fat as defined in § 101.62(b)(2),” (2) be “Low saturated fat as defined in §

                            9    101.62(c)(2),” (3) be consistent with “The disclosure level for cholesterol specified in §
                            10
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                                 101.13(h),” and (4) contain “At least 10 percent of the RDI [recommended daily
                            11
                                 intake] or the DRV [dietary reference values] per RACC [reference amount
                            12
                            13   customarily consumed] of one or more of vitamin A, vitamin C, calcium, iron, protein

                            14   or fiber.” See 21 C.F.R. § 101.65(d)(2)(i)(F) (incorporating by reference total fat

                            15   requirement, 21 C.F.R. § 101.62(b)(2), and saturated fat requirement, 21 C.F.R. §
                            16
                                 101.62(c)(2)). In addition, the food must comply “with the definition and declaration
                            17
                                 requirements in this part 101 for any specific nutrient content claim on the label or in
                            18
                            19   labeling.” 21 C.F.R. § 101.65(d)(2)(iii).

                            20          93.      Section 101.62(b)(2)(i)(A) provides the applicable definition of “low fat”

                            21   for the Products because they have a RACC (reference amounts customarily
                            22
                                 consumed) “greater than 30 g or greater than 2 tablespoons.”
                            23
                                        94.      Under section 101.62(b)(2)(i)(A), a food is low fat only if it “contains 3 g
                            24
                            25   or less of fat per reference amount customarily consumed.”

                            26          95.      The Products all contain more than 3 grams of fat per RACC. Thus the

                            27   Products do not meet the total fat requirement in section 101.65(d)(2)(i)(F), and as a
                            28
                                 result, the use of a “healthy” term renders the Products misbranded.
                                                                               – 26 –
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                                        96.    Under section 101.62(c)(2), a food is “low saturated fat” only if it
                            1
                            2    “contains 1 g or less of saturated fatty acids per reference amount customarily

                            3    consumed and not more than 15 percent of calories from saturated fatty acids.”
                            4
                                        97.    The Products contain more than 1 gram of saturated fat per RACC. The
                            5
                                 Products therefore do not meet the saturated fat requirement in section
                            6
                                 101.65(d)(2)(i)(F), and as a result, the use of a “healthy” term renders the Product
                            7
                            8    misbranded.

                            9           98.    Further, under section 101.13(h), if a food product makes a nutrient
                            10
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                                 content claim, and it exceeds 13.0g of fat, 4.0g of saturated fat, or 60mg of cholesterol,
                            11
                                 “then that food must bear a statement disclosing that the nutrient exceeding the
                            12
                            13   specified level is present in the food as follows: “See nutrition information for __

                            14   content” with the blank filled in with the identity of the nutrient exceeding the

                            15   specified level, e.g., ‘See nutrition information for fat content.’”
                            16
                                        99.    The Products far exceed the saturated fat and total fat amounts per
                            17
                                 serving. Moreover, the Products do not have any disclosure statements. There
                            18
                            19   Products therefore do not meet the disclosure requirements under section 101.13(h),

                            20   and as a result, the Products are misbranded.

                            21          100.   Plaintiffs and Class Members would not have purchased the Products if
                            22
                                 they knew the Products were misbranded pursuant to California and federal
                            23
                                 regulations because its labeling made unauthorized and misleading nutrient content
                            24
                            25   claims and omitted material information and disclosures.

                            26          101.   To be clear, Plaintiffs does not allege any claims pursuant to the FDCA

                            27   and Sherman Law and relies on these regulations only to the extent they provide a
                            28
                                 predicate basis for liability under state and common law, as set forth herein.
                                                                             – 27 –
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                                              d.     The Products are Misbranded Because the Defendant
                            1
                                                     Omits Material Information
                            2
                                       102.   Despite making prominent nutrient content claims on the Products,
                            3
                                 Defendant fails to make required statements that protect consumers.
                            4
                            5          103.   Defendant fails to include mandatory disclosure statements that must

                            6    alert consumers to examine the Nutrition Information because the Product contains
                            7
                                 high levels of saturated fat.
                            8
                                       104.   These disclosures are mandatory because the Product contains
                            9
                                 numerous nutrient content claims, and because the Product contains these high,
                            10
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                            11   dangerous levels, they are required so consumers can put these claims in their proper

                            12   context.
                            13
                                       105.    Under section 101.13(h), if a food product makes a nutrient content
                            14
                                 claim, and it exceeds 13.0g of fat, 4.0g of saturated fat, or 60mg of cholesterol, “then
                            15
                            16   that food must bear a statement disclosing that the nutrient exceeding the specified

                            17   level is present in the food as follows: “See nutrition information for __ content” with

                            18   the blank filled in with the identity of the nutrient exceeding the specified level, e.g.,
                            19
                                 ‘See nutrition information for fat content.’”
                            20
                                       106.   As described herein, the Products contain high levels of saturated fat in
                            21
                            22   excess of the threshold amounts.

                            23         107.   This language fails to appear on all the Products.

                            24         F. The Products are misbranded.
                            25
                                       108.   Under FDCA section 403, a food is “misbranded” if “its labeling is false
                            26
                                 or misleading in any particular.” See 21 U.S.C. §§ 343(a).
                            27
                            28

                                                                            – 28 –
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                                         109.   The perceived healthiness of the Products has a material bearing on
                            1
                            2    price and consumer acceptance.

                            3            110.   Defendant’s Products are high in saturated fat at dangerous levels.
                            4
                                         111.   Thus, Defendant is not permitted to make claims that the Product
                            5
                                 contains healthy “good” fats.
                            6
                                         112.   Because the Defendant fails to reveal the basic nature and
                            7
                            8    characterizing properties of the Products, Defendant’s Products are not only sold with

                            9    misleading labeling but also misbranded under Sections 403(a) of the Food Drug &
                            10
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                                 Cosmetic Act (“FDCA”), 21 U.S.C. §§ 343(a), and cannot be legally manufactured,
                            11
                                 advertised, distributed, or sold in the U.S. as it is currently labeled. See 21 U.S.C. §
                            12
                            13   331.

                            14           113.   Moreover, California law forbids the misbranding of food in language

                            15   largely identical to that found in the FDCA.
                            16
                                         114.   The Products are misbranded under California’s Sherman Law, Cal.
                            17
                                 Health & Safety Code §§ 109875-111915. The Sherman Law expressly incorporates
                            18
                            19   the food labeling requirements set forth in the FDCA, see Cal. Health & Safety Code §

                            20   110100(a), and provides that any food is misbranded if its nutritional labeling does

                            21   not conform to FDCA requirements. See id. § 110665; see also id. § 110670.
                            22
                                         115.   The Sherman Law further provides that a product is misbranded if its
                            23
                                 labeling is “false or misleading.” Id. § 110660. It is a violation of the Sherman Law to
                            24
                            25   advertise any misbranded food, id. § 110398; to manufacture, sell, deliver, hold, or

                            26   offer for sale any food that is misbranded, id. § 110760; to misbrand any food, id. §

                            27   110765: or to receive in commerce any food that is misbranded or deliver or proffer it
                            28
                                 for delivery, id. § 110770.
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                                       116.   By misrepresenting the basic nature and characterizing properties of the
                            1
                            2    Products, Defendant violates these federal and state regulations and misleads

                            3    Plaintiffs and other reasonable consumers.
                            4
                                       G. Reasonable consumers relied on Defendant’s misrepresentations to
                            5             their detriment.

                            6          117.   Defendant’s deceptive representations and omissions are material in
                            7
                                 that a reasonable person would attach importance to such information and would be
                            8
                                 induced to act upon such information in making purchase decisions.
                            9
                                       118.   Plaintiffs and the Class Members reasonably relied to their detriment on
                            10
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                            11   Defendant’s misleading representations and omissions.

                            12         119.   Defendant’s illegal, deceptive conduct leads reasonable consumers to
                            13
                                 believe that the Products contain “healthy fat,” and are better, healthier, and more
                            14
                                 nutritious than competing products.
                            15
                            16         120.   Defendant’s false, misleading, and deceptive misrepresentations and

                            17   omissions are likely to continue to deceive and mislead reasonable consumers and the

                            18   general public, as they have already deceived and misled the Plaintiffs and the Class
                            19
                                 Members.
                            20
                            21
                            22         H. Defendant’s wrongful conduct caused Plaintiffs’ and the Class
                                          Members’ injuries.
                            23
                                       121.   Defendant knows that consumers are willing to pay more for food
                            24
                            25   products that are represented as healthy, healthful, better for them, and a healthier

                            26   alternative to the competition.

                            27         122.   As a result of these unfair and deceptive practices, Defendant has likely
                            28
                                 collected millions of dollars from the sale of the Products that they would not have
                                                                            – 30 –
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                                 otherwise earned. Plaintiffs and Class Members paid money for food items that are
                            1
                            2    not what they purported to be or what they bargained for. They paid a premium for

                            3    the Products when they could have instead bought other, less expensive products that
                            4
                                 do not purport to contain the health benefits of Defendant’s Products or include the
                            5
                                 mandatory disclosure language which puts the nutrient content claims in the proper
                            6
                                 context for consumers.
                            7
                            8          123.      In making the false and misleading representations described herein,

                            9    Defendant knew and intended that consumers would pay for, and/or pay a premium
                            10
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                                 for, a product labeled and advertised as healthy, healthful, better for them, and a
                            11
                                 healthier alternative to the competition.
                            12
                            13         124.      As an immediate, direct, and proximate result of Defendant's false and

                            14   misleading representations, Defendant injured the Plaintiffs and the Class Members

                            15   in that they:
                            16
                                           a. Paid a sum of money for Products that were not what Defendant
                            17
                                                 represented;
                            18
                            19             b. Paid a premium price for Products that were not what Defendant

                            20                   represented;

                            21             c. Were deprived of the benefit of the bargain because the Products they
                            22
                                                 purchased were different from what Defendant warranted;
                            23
                                           d. Were deprived of the benefit of the bargain because the Products they
                            24
                            25                   purchased had less value than what Defendant represented;

                            26             e. Could not be used for the purpose for which they were purchased; and

                            27             f. Were of a different quality than what Defendant promised.
                            28

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                                       125.   Had Defendant not made the false, misleading, and deceptive
                            1
                            2    representations, Plaintiffs and the Class Members would not have been willing to pay

                            3    the same amount for the Products they purchased, and, consequently, Plaintiffs and
                            4
                                 the Class Members would not have been willing to purchase the Products.
                            5
                                       126.   Plaintiffs and the Class Members paid for Products that were purported
                            6
                                 to consist of healthy “good” fats but received Products that consisted of dangerously
                            7
                            8    high levels of saturated fat. The products Plaintiffs and the Class Members received

                            9    were worth less than the products for which they paid.
                            10
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                                       127.   Based on Defendant's misleading and deceptive representations,
                            11
                                 Defendant was able to, and did, charge a premium price for the Products over the cost
                            12
                            13   of competitive products not bearing the representations.

                            14         128.   In the first three years alone, Defendant had already collected

                            15   “$100,000,000” from consumers worldwide.30
                            16
                                       129.   Plaintiffs and the Class Members all paid money for the Products.
                            17
                                 However, Plaintiffs and the Class Members did not obtain the full value of the
                            18
                            19   advertised Products due to Defendant's misrepresentations and omissions. Plaintiffs

                            20   and the Class Members purchased, purchased more of, and/or paid more for, the

                            21   Products than they would have had they known the truth about the Products.
                            22
                                 Consequently, Plaintiffs and the Class Members have suffered injury in fact and lost
                            23
                                 money as a result of Defendant's wrongful conduct.
                            24
                            25
                            26
                            27   30Karl Moore, Suzie Yorke, CEO Of Love Good Fats, On Founding Canada’s Fastest
                                 Growing Company At Age 50, FORBES (Nov. 23, 2021),
                            28   https://www.forbes.com/sites/karlmoore/2021/11/23/suzie-york-ceo-of-love-good-fats-
                                 on-founding-canadas-fastest-growing-company-at-age-50/.
                                                                         – 32 –
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                                       I. Defendant Has Knowledge of These Regulations and Acts with
                            1
                                          Reckless Disregard
                            2
                                       130.   Defendant is aware of these regulations and established guidelines yet
                            3
                                 refuses to comply.
                            4
                            5          131.   Defendant’s Founder and CEO is well aware of food labeling rules and

                            6    regulations yet fails to comply.
                            7
                                       132.   Her Linkedin profile describes her knowledge:31
                            8

                            9
                            10
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                            11
                            12
                            13
                            14         133.   Throughout its website, it makes numerous statements, references, and
                            15
                                 representations concerning “healthy” fats and its interpretations and research.
                            16
                                       134.   Defendant has a “Scientific Advisor,” but this person fails to hold a
                            17
                            18   degree in any field of science.

                            19         135.   Moreover, Defendant’s “Scientific Advisor” has a controversial track

                            20   record when her claims, arguments, and assertions are challenged by real scientists.32
                            21
                            22
                            23
                            24   31Linkedin Profile for Suzie Yorke, https://ca.linkedin.com/in/suzie-yorke-a5574712
                                 (emphasis added).
                            25
                                 32See, e.g., Blackburn, H., Jacobs, D., Kromhout, D., & Menotti, A. (2018). Review of
                            26   Big Fat Surprise should have questioned author's claims. The Lancet, 392(10152),
                                 1014. https://doi.org/10.1016/S0140-6736(18)31886-5; Letter in Response to Article
                            27   by Nina Teicholz from 180 Scientists (Nov. 5, 2015),
                                 https://www.cspinet.org/sites/default/files/attachment/bmj-retraction-letter-11-5-
                            28   15.pdf; and Center for Science in the Public Interest, Letter to BMJ re: Teicholz
                                 External Review (Nov. 4, 2016), https://www.cspinet.org/letter-bmj-re-teicholz.
                                                                            – 33 –
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                                          136.   Defendant’s “Scientific Advisor” fails to believe and follow scientific
                            1
                            2    standards, studies, and mandates:

                            3

                            4
                            5
                            6
                            7
                            8

                            9
                            10
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                            11            137.   The core of Defendant’s CEO and Founder’s beliefs concerning fat come

                            12   from this “Scientific Advisor.”

                            13               a. “In 2016, Yorke took the leap and founded her brand, which she credits
                            14
                                                 to reading Nina Teicholz’s The Big Fat Surprise. The book dives into the
                            15
                                                 misinformed public and scientific conception about saturated fats. After
                            16
                            17                   conducting extensive research, she decided it was time for a brand to

                            18                   help disseminate the information about good fats, starting with on-the-

                            19                   go snacks.”33
                            20
                                             b. “After devouring The Big Fat Surprise by Nina Teicholz, Yorke decided
                            21
                                                 that everything she’d been taught about fat—in a nutshell, eating fat
                            22
                            23                   makes you fat—was wrong. “There was one study from the 1960s that

                            24                   said fat is bad, and it’s been all misconceptions for the next 60 years,”
                            25                   Yorke says. Teicholz’s claims were a pretty easy sell for North
                            26
                            27
                            28
                                 33   Moore, supra note 30.
                                                                              – 34 –
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                                              Americans in 2015, and the welcome return of fat was splashed across
                            1
                            2                 newspaper headlines and magazine covers.”34

                            3              c. “I read the book The Big Fat Surprise by Nina Teicholz…and she
                            4
                                              discovered that we all had been duped by with that one study Mr. Ancel
                            5
                                              Keys in the 60s…”35
                            6
                                           d. “Suzie came across Nina Teicholz’s book, The Big Fat Surprise. The gist
                            7
                            8                 of the book was that sugar is the real villain here, not fats. Fats are, in

                            9                 fact, good for your brain and your body. They give you more energy and
                            10
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                                              make you feel fuller longer. Suzie read Nina’s on a plane, and once it
                            11
                                              landed, she decided to change her diet.”36
                            12
                            13         138.   In short, Suzie Yorke was inspired to found Defendant after reading a

                            14   book on a single flight, authored by a person that fails to hold a single scientific

                            15   degree and whose methods and analysis are “controversial” at best.
                            16
                                       139.   Defendant retained this person as its “Scientific Advisor” and
                            17
                                 incorporates this person into marketing materials for the Products.
                            18
                            19
                            20
                            21
                            22
                                 34Rosemary Counter, How Good Fat Co. managed to appeal to consumers by
                            23   embracing the f-word, ROB MAGAZINE (Sep. 24, 2021),
                                 https://www.theglobeandmail.com/business/rob-magazine/article-how-good-fat-co-
                            24   managed-to-appeal-to-consumers-by-embracing-the-f-word/.
                            25
                                 35Keynote Presentation by Suzie Yorke, CEO & Founder of Love Good Fats at the
                            26   CPG Startup Global Mini-Conference,
                                 https://www.youtube.com/watch?v=Scx3whLw6Ak (3:45 mark).
                            27
                                 36Staff Street, Mover’s Spotlight on Melanie Webb and Love Good Fats
                            28   https://staffstreet.co/2021/05/15/movers-spotlight-on-melanie-webb-and-love-good-
                                 fats/.
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                                          140.   Defendant believes it is a pioneer in the fight against “forty years of
                            1
                            2    misinformation,”37 and attempts to protect fats that have been “demonized in the past

                            3    as they were historically blamed for weight gain and heart disease.”38
                            4
                                          141.   With these beliefs, Defendant willfully disregards labeling and
                            5
                                 marketing regulations.
                            6
                                          142.   Defendant knows the rules, the regulations, and the reasonable
                            7
                            8    consumers’ interpretation of the Products’ representations yet continues to mislead

                            9    and deceive.
                            10
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                                                      CLASS DEFINITIONS AND ALLEGATIONS
                            11
                                          143.   Plaintiffs, pursuant to Federal Rule of Civil Procedure 23, bring this
                            12
                            13   action on behalf of the following classes:

                            14               a. California Class: All persons who purchased Defendant’s Products

                            15                   within the State of California and within the applicable statute of
                            16
                                                 limitations;
                            17
                                             b. Multi-State Consumer Class: All persons in the States of California,
                            18
                            19                   Florida, Illinois, Massachusetts, Minnesota, Missouri, New Jersey, New

                            20                   York, Pennsylvania, Oregon, and Washington who purchased the

                            21                   Products.39
                            22
                            23   37   Ortenberg, supra note 9.
                            24
                                 38   Yu, supra note 10.
                            25
                            26
                                 39The States in the Multi-State Consumer Class are limited to those States with
                                 similar consumer protection laws under the facts of this case: California (Cal. Bus. &
                            27   Prof. Code § 17200, et seq.); Florida (Fla. Stat. § 501.201, et seq.); Illinois (815 ILCS
                                 505/1, et seq.); Massachusetts (Mass. Gen. Laws Ch. 93A, et seq.); Michigan (Mich.
                            28   Comp. Laws § 445.901, et seq.); Minnesota (Minn. Stat. § 325F.67, et seq.); Missouri
                                 (Mo. Rev. Stat. 407.010, et seq.); New Jersey (N.J. Stat. § 56:8-1, et seq.); New York
                                 (N.Y. Gen. Bus. Law § 349, et seq.); Pennsylvania (73 Pa. Stat. Ann. §§ 201-1 et seq.);
                                                                             – 36 –
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                                           c. Nationwide Class: All persons who purchased Defendant’s Products
                            1
                            2                 within the United States and within the applicable statute of limitations

                            3                 period (collectively, the “Class,” “Classes,” and “Class Members”).
                            4
                                       144.   Excluded from the Classes are Defendant, its parents, subsidiaries,
                            5
                                 affiliates, officers, and directors, those who purchased the Products for resale, all
                            6
                                 persons who make a timely election to be excluded from the Classes, the judge to
                            7
                            8    whom the case is assigned and any immediate family members thereof, and those

                            9    who assert claims for personal injury.
                            10
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                                       145.   The members of the Classes are so numerous that joinder of all Class
                            11
                                 Members is impracticable. Defendant has sold, at a minimum, hundreds of thousands
                            12
                            13   of units of the Products to Class Members.

                            14         146.   There is a well-defined community of interest in the questions of law and

                            15   fact involved in this case. Questions of law and fact common to the members of the
                            16
                                 putative classes that predominate over questions that may affect individual Class
                            17
                                 Members include, but are not limited to the following:
                            18
                            19             a. whether Defendant misrepresented material facts concerning the

                            20                Products on the packaging of every product;

                            21             b. whether Defendant misrepresented material facts concerning the
                            22
                                              Products in print and digital marketing of every product;
                            23
                                           c. whether Defendant’s conduct was unfair and/or deceptive;
                            24
                            25
                            26
                            27
                                 Oregon (Or. Rev. Stat. §§ 646.605, et seq.); and Washington (Wash Rev. Code §
                            28   19.86.010, et seq.).

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                                           d. whether Defendant has been unjustly enriched as a result of the
                            1
                            2                 unlawful, fraudulent, and unfair conduct alleged in this Complaint such

                            3                 that it would be inequitable for Defendant to retain the benefits
                            4
                                              conferred upon it by Plaintiffs and the Class;
                            5
                                           e. whether Plaintiffs and the Class are entitled to equitable and/or
                            6
                                              injunctive relief;
                            7
                            8              f. whether Defendant breached implied and express warranties to

                            9                 Plaintiffs and the Class; and
                            10
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                                           g. whether Plaintiffs and the Class have sustained damages with respect to
                            11
                                              the claims asserted, and if so, the proper measure of their damages.
                            12
                            13         147.   Plaintiffs’ claims are typical of those of other Class Members because

                            14   Plaintiffs, like all members of the classes, purchased Defendant’s Products bearing

                            15   the healthy “good” fat representations and Plaintiffs sustained damages from
                            16
                                 Defendant’s wrongful conduct.
                            17
                                       148.   Plaintiffs will fairly and adequately protect the interests of the Classes
                            18
                            19   and has retained counsel that is experienced in litigating complex class actions.

                            20         149.   Plaintiffs have no interests which conflict with those of the Classes.

                            21         150.   A class action is superior to any other available means for the fair and
                            22
                                 efficient adjudication of this controversy, and no unusual difficulties are likely to be
                            23
                                 encountered in the management of this class action. The damages or other financial
                            24
                            25   detriment suffered by Plaintiffs and the other Class Members are relatively small

                            26   compared to the burden and expense that would be required to individually litigate

                            27   their claims against Defendant, making it impracticable for Class Members to
                            28
                                 individually seek redress for Defendant’s wrongful conduct. Even if Class Members
                                                                            – 38 –
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                                 could afford individual litigation, the court system could not. Individualized litigation
                            1
                            2    creates a potential for inconsistent or contradictory judgments, and increases the

                            3    delay and expense to all parties and the court system. By contrast, the class action
                            4
                                 device presents far fewer management difficulties, and provides the benefits of single
                            5
                                 adjudication, economies of scale, and comprehensive supervision by a single court.
                            6
                                          151.    The prerequisites to maintaining a class action for equitable relief are
                            7
                            8    met as Defendant has acted or refused to act on grounds generally applicable to the

                            9    classes, thereby making appropriate equitable relief with respect to the classes as a
                            10
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                                 whole.
                            11
                                          152.    The prosecution of separate actions by members of the Classes would
                            12
                            13   create a risk of establishing inconsistent rulings and/or incompatible standards of

                            14   conduct for Defendant. For example, one court might enjoin Defendant from

                            15   performing the challenged acts, whereas another might not. Additionally, individual
                            16
                                 actions could be dispositive of the interests of the classes even where certain Class
                            17
                                 Members are not parties to such actions.
                            18
                            19
                            20                                      CAUSES OF ACTION

                            21                                            COUNT I
                            22                   Violation of California’s Unfair Competition Law (“UCL”)
                                                       Business and Professions Code § 17200 et seq.
                            23                               (On Behalf of the California Class)

                            24            153.    Plaintiffs repeat and reallege each and every allegation contained in the
                            25
                                 foregoing paragraphs as if fully set forth herein.
                            26
                                          154.    Plaintiffs bring this cause of action pursuant to the UCL on their own
                            27
                            28   behalf and on behalf of all other persons similarly situated.


                                                                              – 39 –
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                                       155.   The UCL prohibits “any unlawful, unfair... or fraudulent business act or
                            1
                            2    practice.” Cal. Bus & Prof. Code § 17200.

                            3          A. Unlawful Prong
                            4
                                       156.   The UCL identifies violations of other laws as “unlawful practices that
                            5
                                 the unfair competition law makes independently actionable.” Velazquez v. GMAC
                            6
                                 Mortg. Corp., 605 F. Supp. 2d 1049, 1068 (C.D. Cal. 2008).
                            7
                            8          157.   Defendant’s labeling and advertising of the Products, as alleged in the

                            9    preceding paragraphs, violates California Civil Code Section 1750, et seq. (Consumer
                            10
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                                 Legal Remedies Act), California Business and Professions Code Section 17500, et seq.
                            11
                                 (False Advertising Law), Cal. Heath & Saf. Code § 110765 et seq. (the “Sherman
                            12
                            13   Law”), and the common law as described herein.

                            14         158.   Defendant’s packaging, labeling, and advertising of the Products, as

                            15   alleged in the preceding paragraphs, is false, deceptive, misleading, and
                            16
                                 unreasonable, and constitutes unlawful conduct.
                            17
                                       159.   Defendant knew or should have known of their unlawful conduct.
                            18
                            19         160.   As alleged in the preceding paragraphs, the misrepresentations by

                            20   Defendant detailed above constitute an unlawful business practice within the

                            21   meaning of the UCL.
                            22
                                       161.   There were reasonably available alternatives to further Defendant’s
                            23
                                 legitimate business interests other than the conduct described herein. Defendant
                            24
                            25   could have refrained from misrepresenting the true characteristics of the Products.

                            26         162.   All of the conduct alleged herein occurred and continues to occur in

                            27   Defendant’s business. Defendant’s wrongful conduct is part of a pattern or
                            28
                                 generalized course of conduct repeated on thousands of occasions daily.
                                                                             – 40 –
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                                        163.   Pursuant to California Business and Professions Code Section 17203,
                            1
                            2    Plaintiffs and the California Class seek an order of this Court enjoining Defendant

                            3    from continuing to engage, use, or employ its practice of false and deceptive
                            4
                                 advertising of the Products. Likewise, Plaintiffs and the California Class seek an
                            5
                                 order requiring Defendant to disclose such misrepresentations, and additionally
                            6
                                 request an order awarding Plaintiffs restitution of the money wrongfully acquired by
                            7
                            8    Defendant by means of responsibility attached to Defendant’s failure to disclose the

                            9    existence and significance of said misrepresentations in an amount to be determined
                            10
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                                 at trial.
                            11
                                        164.   Plaintiffs and the California Class have suffered injury in fact and have
                            12
                            13   lost money as a result of Defendant’s unlawful conduct. Plaintiffs paid an

                            14   unwarranted premium for the Product. Plaintiffs would not have purchased the

                            15   Products if they had known that Defendant purposely deceived consumers into
                            16
                                 believing that the Products were healthy, healthful, better for them, and a healthier
                            17
                                 alternative to the competition.
                            18
                            19          165.   As a result of the business acts and practices described above, Plaintiffs

                            20   and members of the California Class, pursuant to § 17203, are entitled to an order

                            21   enjoining such future wrongful conduct on the part of Defendant and such other
                            22
                                 orders and judgments that may be necessary to disgorge Defendant’s ill-gotten gains
                            23
                                 and to restore to any person in interest any money paid for the Products as a result of
                            24
                            25   the wrongful conduct of Defendant.

                            26          166.   Pursuant to Civil Code § 3287(a), Plaintiffs and the California Class are

                            27   further entitled to prejudgment interest as a direct and proximate result of
                            28
                                 Defendant’s unfair and fraudulent business conduct. The amount on which interest is
                                                                            – 41 –
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                                 to be calculated is a sum certain and capable of calculation, and Plaintiffs and the
                            1
                            2    California Class are entitled to interest in an amount according to proof.

                            3          B. Unfair Prong
                            4
                                       167.   Under the UCL a challenged activity is “unfair” when “any injury it
                            5
                                 causes outweighs any benefits provided to consumers and the injury is one that the
                            6
                                 consumers themselves could not reasonably avoid.” Camacho v. Auto Club of
                            7
                            8    Southern California, 142 Cal. App. 4th 1394, 1403 (2006).

                            9          168.   Defendant’s advertising and labeling of the Products as being healthy,
                            10
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                                 healthful, better for them, and a healthier alternative to the competition, when the
                            11
                                 Products contain dangerously high levels of saturated fat, is false, misleading, and
                            12
                            13   deceptive.

                            14         169.   Defendant’s false advertising of the Products causes injuries to

                            15   consumers, who do not receive the promised benefits from the Products in proportion
                            16
                                 to their reasonable expectations.
                            17
                                       170.   Through false, misleading, and deceptive labeling of the Products,
                            18
                            19   Defendant seeks to take advantage of consumers’ desire for healthy food products,

                            20   while reaping the financial benefits of manufacturing Products that are not as

                            21   healthy as represented.
                            22
                                       171.   When Defendant labels and markets the Products as being healthy,
                            23
                                 healthful, better for them, and a healthier alternative to the competition, it provides
                            24
                            25   false promises to consumers and stifles competition in the marketplace.

                            26         172.   Consumers cannot avoid any of the injuries caused by Defendant’s false

                            27   and misleading advertising of the Products.
                            28

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                                       173.   Some courts conduct a balancing test to decide if a challenged activity
                            1
                            2    amounts to unfair conduct under the UCL. The courts “weigh the utility of the

                            3    defendant’s conduct against the gravity of the harm alleged to the victim.” Davis v.
                            4
                                 HSBC Bank Nevada, N.A., 691 F. 3d 1152, 1169 (9th Cir. 2012).
                            5
                                       174.   Defendant’s material misrepresentations and omissions result in
                            6
                                 financial harm to consumers. Thus, the utility of Defendant’s conduct is vastly
                            7
                            8    outweighed by the gravity of its harm.

                            9          175.   Some courts require the “unfairness must be tethered to some legislative
                            10
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                                 declared policy or proof of some actual or threatened impact on competition.” Lozano
                            11
                                 v. AT&T Wireless Servs. Inc., 504 F. 3d 718, 735 (9th Cir. 2007).
                            12
                            13         176.   As described herein, Defendant’s conduct impacts the public health of

                            14   Americans and the competitive landscape for Defendant’s competitors that act as

                            15   good faith market participants.
                            16
                                       177.   Defendant’s advertising and labeling of the Products, as alleged in the
                            17
                                 preceding paragraphs, is false, deceptive, misleading, and unreasonable, and
                            18
                            19   constitutes unfair conduct.

                            20         178.   Defendant knew or should have known of its unfair conduct.

                            21         179.   As alleged in the preceding paragraphs, the material misrepresentations
                            22
                                 by Defendant detailed above constitute an unfair business practice within the
                            23
                                 meaning of the UCL.
                            24
                            25         180.   There were reasonably available alternatives to further Defendant’s

                            26   legitimate business interests other than the conduct described herein. Defendant

                            27   could have marketed the Products without making any false and deceptive
                            28
                                 statements about the Products’ ingredients.
                                                                            – 43 –
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                                       181.   All of the conduct alleged herein occurs and continues to occur in
                            1
                            2    Defendant’s business. Defendant’s wrongful conduct is part of a pattern or

                            3    generalized course of conduct repeated on hundreds of occasions daily.
                            4
                                       182.   Pursuant to Business & Professions Code Section 17203, Plaintiffs and
                            5
                                 the California Class seek an order of this Court enjoining Defendant from continuing
                            6
                                 to engage, use, or employ its practice of false and deceptive advertising and labeling
                            7
                            8    of the Products. Plaintiffs and California Class Members additionally request an

                            9    order awarding Plaintiffs and California Class Members restitution of the money
                            10
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                                 wrongfully acquired by Defendant by means of responsibility attached to Defendant’s
                            11
                                 failure to disclose the existence and significance of said misrepresentations in an
                            12
                            13   amount to be determined at trial.

                            14         183.   Plaintiffs and the California Class have suffered injury in fact and have

                            15   lost money as a result of Defendant’s unfair conduct. Plaintiffs paid an unwarranted
                            16
                                 premium for the Products.
                            17
                                       C. Fraudulent Prong
                            18
                            19         184.   The UCL considers conduct fraudulent and prohibits said conduct if it is

                            20   likely to deceive members of the public. Bank of the West v. Superior Court, 2 Cal. 4th

                            21   1254, 1267 (1992).
                            22
                                       185.   Defendant’s labeling and advertising of the Products as being healthy,
                            23
                                 healthful, better for them, and a healthier alternative to the competition is likely to
                            24
                            25   deceive members of the public into believing that the Products are healthier and

                            26   better for consumers that they are in reality.

                            27
                            28

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                                       186.   Defendant’s advertising of the Products, as alleged in the preceding
                            1
                            2    paragraphs, is false, deceptive, misleading, and unreasonable and constitutes

                            3    fraudulent conduct.
                            4
                                       187.   Defendant knew or should have known of its fraudulent conduct.
                            5
                                       188.   As alleged in the preceding paragraphs, the material misrepresentations
                            6
                                 and omissions by Defendant detailed above constitute a fraudulent business practice
                            7
                            8    in violation of the UCL.

                            9          189.   There were reasonably available alternatives to further Defendant’s
                            10
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                                 legitimate business interests, other than the conduct described herein. Defendant
                            11
                                 could have refrained from marketing and labeling the Products as being healthy,
                            12
                            13   healthful, better for them, and a healthier alternative to the competition.

                            14         190.   All of the conduct alleged herein occurs and continues to occur in

                            15   Defendant’s business. Defendant’s wrongful conduct is part of a pattern or
                            16
                                 generalized course of conduct repeated on hundreds of occasions daily.
                            17
                                       191.   Pursuant to Business & Professions Code Section 17203, Plaintiffs and
                            18
                            19   the California Class seek an order of this Court enjoining Defendant from continuing

                            20   to engage, use, or employ its practice of false and deceptive advertising of the

                            21   Products. Likewise, Plaintiffs and the California Class seek an order requiring
                            22
                                 Defendant to disclose such misrepresentations, and additionally request an order
                            23
                                 awarding Plaintiffs restitution of the money wrongfully acquired by Defendant by
                            24
                            25   means of responsibility attached to Defendant’s failure to disclose the existence and

                            26   significance of said misrepresentations in an amount to be determined at trial.

                            27         192.   Plaintiffs and the California Class have suffered injury in fact and have
                            28
                                 lost money as a result of Defendant’s fraudulent conduct. Plaintiffs and the California
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                                 Class paid an unwarranted premium for the Products. Plaintiffs and the California
                            1
                            2    Class would not have purchased the Products if they had known that the Products

                            3    were not healthy, healthful, better for them, and a healthier alternative to the
                            4
                                 competition as represented by Defendant.
                            5
                            6
                                                                     COUNT II
                            7
                                              Violation of California’s False Advertising Law (“FAL”)
                            8                      Business and Professions Code § 17500 et seq.
                                                        (On Behalf of the California Class)
                            9
                                       193.     Plaintiffs repeat and reallege each and every allegation contained in the
                            10
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                            11   foregoing paragraphs as if fully set forth herein.

                            12         194.     Plaintiffs bring this cause of action pursuant to the FAL on their own
                            13
                                 behalf and on behalf of all other persons similarly situated.
                            14
                                       195.     The FAL makes it “unlawful for any person to make or disseminate or
                            15
                            16   cause to be made or disseminated before the public in this state, in any advertising

                            17   device or in any other manner or means whatever, including over the Internet, any

                            18   statement, concerning personal property or services, professional or otherwise, or
                            19
                                 performance or disposition thereof, which is untrue or misleading and which is
                            20
                                 known, or which by the exercise of reasonable care should be known, to be untrue or
                            21
                            22   misleading.”

                            23         196.     Defendant knowingly disseminated misleading claims regarding the

                            24   Products in order to mislead the public about the health benefits of the Products.
                            25
                                       197.     Defendant controlled the labeling, packaging, production and
                            26
                                 advertising of the Products. Defendant knew or should have known, through the
                            27
                            28   exercise of reasonable care, that its representations and omissions about the


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                                 characteristics and ingredients of the Products were untrue, deceptive, and
                            1
                            2    misleading.

                            3          198.    Defendant understands that the public values “healthy” representations,
                            4
                                 and this is shown by the numerous statements that are prominently featured
                            5
                                 throughout the Products’ packaging.
                            6
                                       199.    Defendant’s actions in violation of the FAL were false and misleading
                            7
                            8    such that the general public is and was likely to be deceived.

                            9          200.    As a direct and proximate result of Defendant’s conduct alleged herein
                            10
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                                 in violation of the FAL, Plaintiffs and members of the California Class, pursuant to §
                            11
                                 17535, are entitled to an order of this Court enjoining such future wrongful conduct
                            12
                            13   on the part of Defendant, and requiring Defendant to disclose the true nature of its

                            14   misrepresentations.

                            15         201.    Plaintiffs and the California Class have suffered injury in fact and have
                            16
                                 lost money as a result of Defendant’s false representations. Plaintiffs purchased the
                            17
                                 Products in reliance upon the claims and omissions by Defendant that the Products
                            18
                            19   are healthy, healthful, better for them, and a healthier alternative to the competition,

                            20   as represented by Defendant’s labeling and advertising. Plaintiffs would not have

                            21   purchased the Products if she had known that the claims and advertising as
                            22
                                 described herein were false and misleading.
                            23
                                       202.    Plaintiffs and members of the California Class also request an order
                            24
                            25   requiring Defendant to disgorge its ill-gotten gains and/or award full restitution of all

                            26   monies wrongfully acquired by Defendant by means of such acts of false advertising,

                            27   plus interests and attorneys’ fees.
                            28

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                                                                   COUNT III
                            1
                                       Violation of California’s Consumer Legal Remedies Act (“CLRA”)
                            2                    Business and Professions Code § 1750 et seq.
                                                            (Injunctive Relief Only)
                            3                         (On Behalf of the California Class)
                            4
                                       203.   Plaintiffs repeat and reallege each and every allegation contained in the
                            5
                                 foregoing paragraphs as if fully set forth herein.
                            6
                                       204.   Plaintiffs bring this claim individually and on behalf of the members of
                            7
                            8    the proposed California Class against the Defendant.

                            9          205.   At all times relevant hereto, Plaintiff and members of the California
                            10
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                                 Class were “consumer[s],” as defined in Civil Code section 1761(d).
                            11
                                       206.   At all times relevant hereto, Defendant is a “person,” as defined in Civil
                            12
                            13   Code section 1761(c).

                            14         207.   At all times relevant hereto, the Products manufactured, marketed,

                            15   advertised, and sold by Defendant constituted “goods,” as defined in Civil Code
                            16
                                 section 1761(a).
                            17
                                       208.   The purchases of the Products by Plaintiffs and members of the
                            18
                            19   California Class were and are “transactions” within the meaning of Civil Code section

                            20   1761(e).

                            21         209.   Defendant disseminated, or caused to be disseminated, through its
                            22
                                 packaging, labeling, marketing and advertising misrepresentations that the Products
                            23
                                 were healthy and healthful by the large representations that the fats contained
                            24
                            25   therein are good for the public’s health.

                            26         210.   Defendant’s representations violate the CLRA in at least the following

                            27   respects:
                            28

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                            1              a. In violation of Civil Code § 1770(a)(5), Defendant represented that the
                            2                 Products have characteristics, ingredients, uses, benefits, and quantities
                            3                 which they do not have;
                            4              b. In violation of Civil Code § 1770(a)(7), Defendant represented that the
                            5                 Products are of a particular standard, quality, or grade, which they are
                            6                 not; and
                            7              c. In violation of Civil Code § 1770(a)(9), Defendant advertised the
                            8                 Products with an intent not to sell the products as advertised.
                            9          211.   Pursuant to the provisions of Cal. Civ. Code § 1782(a), Plaintiffs
                            10   provided notice to Defendant of the alleged violations of the CLRA, demanding that
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                            11   Defendant correct such violations, and providing it with the opportunity to correct its
                            12   business practices. Notice was sent via certified mail, return receipt requested on
                            13   June 3, 2022. As of the date of filing this complaint, Defendant has not responded.
                            14   Accordingly, if after 30 days no satisfactory response to resolve this litigation on a
                            15   class-wide basis has been received, Plaintiffs will seek leave to amend this request to
                            16   seek restitution and actual damages as provided by the CLRA.
                            17         212.   Pursuant to California Civil Code § 1780, Plaintiffs seeks injunctive
                            18   relief, reasonable attorneys’ fees and costs, and any other relief that the Court deems
                            19   proper.
                            20         213.   Defendant knew or should have known that the Products did not contain
                            21   the claimed characteristics because Defendant manufactured, marketed and sold the
                            22   Products without those characteristics that they claimed. Defendant knew or should
                            23   have known that the representations about The Products as described herein violated
                            24   consumer protection laws, and that these statements would be relied upon by
                            25   Plaintiffs and members of the California Class.
                            26         214.   Defendant’s actions as described herein were done with conscious
                            27   disregard of Plaintiffs’ and California Class Members’ rights and was wanton and
                            28   malicious.

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                            1          215.   Defendant’s wrongful business practices constituted, and constitute, a
                            2    continuing course of conduct in violation of the CLRA since Defendant is still
                            3    representing that their Products have characteristics which they do not have.
                            4
                                                                     COUNT IV
                            5
                                                                Unjust Enrichment
                            6                            (On Behalf of the Nationwide Class)

                            7          216.   Plaintiffs repeat and reallege each and every allegation contained in the
                            8
                                 foregoing paragraphs as if fully set forth herein.
                            9
                                       217.   By means of Defendant’s wrongful conduct alleged herein, Defendant
                            10
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                                 knowingly sold the Products to Plaintiffs and Class Members in a manner that was
                            11
                            12   unfair, unconscionable, and oppressive.

                            13         218.   Defendant knowingly received and retained wrongful benefits and funds
                            14
                                 from Plaintiffs and the Class Members. In so doing, Defendant acted with conscious
                            15
                                 disregard for the rights of Plaintiffs and members of the Class.
                            16
                            17         219.   As a result of Defendant’s wrongful conduct as alleged herein, Defendant

                            18   has been unjustly enriched at the expense of, and to the detriment of, Plaintiffs and

                            19   members of the Class.
                            20
                                       220.   Defendant’s unjust enrichment is traceable to, and resulted directly and
                            21
                                 proximately from, the conduct alleged herein.
                            22
                            23         221.   Under the common law doctrine of unjust enrichment, it is inequitable

                            24   for Defendant to be permitted to retain the benefits it received, without justification,

                            25   from selling the Products to Plaintiffs and members of the Class in an unfair,
                            26
                                 unconscionable, and oppressive manner. Defendant’s retention of such funds under
                            27
                                 such circumstances making it inequitable to do so constitutes unjust enrichment.
                            28

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                                       222.      The financial benefits derived by Defendant rightfully belong to
                            1
                            2    Plaintiffs and members of the Class. Defendant should be compelled to return in a

                            3    common fund for the benefit of Plaintiffs and members of the Class all wrongful or
                            4
                                 inequitable proceeds received by Defendant.
                            5
                            6
                                                                       COUNT V
                            7
                                                   Violation of State Consumer Protection Statutes
                            8                       (On Behalf of the Multi-State Consumer Class)

                            9          223.      Plaintiffs repeat and reallege each and every allegation above as if set
                            10
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                                 forth herein.
                            11
                                       224.      The Consumer Protection Acts of the States in the Multi-State
                            12
                            13   Consumer Class prohibit the use of unfair or deceptive business practices in the

                            14   conduct of trade or commerce.

                            15         225.      Defendant intended that Plaintiffs and the other members of the Multi-
                            16
                                 State Consumer Class would rely upon their deceptive conduct, and a reasonable
                            17
                                 person would in fact be misled by its deceptive conduct.
                            18
                            19         226.      As a result of the Defendant’s use or employment of unfair or deceptive

                            20   acts or business practices, Plaintiffs, and other members of Multi-State Consumer

                            21   Class, have sustained damages in an amount to be proven at trial.
                            22
                            23
                                                                   RELIEF DEMANDED
                            24
                            25         227.      WHEREFORE, Plaintiffs, individually and on behalf the Class

                            26   Members, seeks judgment and relief against Defendant, as follows:

                            27             a) For an order declaring: (i) this is a class action pursuant to Rule 23 of
                            28
                                                 the Federal Rules of Civil Procedure on behalf of the proposed Classes
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                                              described herein; and (ii) appointing Plaintiffs to serve as
                            1
                            2                 representatives for the Classes and Plaintiffs’ counsel to serve as Class

                            3                 Counsel;
                            4
                                           b) For an order enjoining Defendant from continuing to engage in the
                            5
                                              unlawful conduct set forth herein;
                            6
                                           c) For an order awarding restitution of the monies Defendant wrongfully
                            7
                            8                 acquired by its illegal and deceptive conduct;

                            9              d) For an order requiring disgorgement of the monies Defendant
                            10
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                                              wrongfully acquired by its illegal and deceptive conduct;
                            11
                                           e) For compensatory and punitive damages, including actual and statutory
                            12
                            13                damages, arising from Defendant’s wrongful conduct and illegal conduct;

                            14             f) For an award of reasonable attorneys’ fees and costs and expenses

                            15                incurred in the course of prosecuting this action; and
                            16
                                           g) For such other and further relief as the Court deems just and proper.
                            17
                            18
                            19   ///

                            20
                            21
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                            23
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                            26
                            27
                            28

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                            1                                 JURY TRIAL DEMAND
                            2         Plaintiffs demand a jury trial on all causes of action so triable.
                            3    Dated: June 6, 2022
                                                                        Good Gustafson Aumais LLP
                            4
                            5                                           /s/ J. Ryan Gustafson
                                                                        J. Ryan Gustafson (Cal. Bar No. 2208021)
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                                                                        Tel: (310) 274-4663
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                            21                                          *Pro hac vice forthcoming
                            22
                                                                        Counsel for Plaintiffs and the Proposed Class
                            23
                            24
                            25
                            26
                            27
                            28

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